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      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE



       AUBRY MCMAHON,                               JUDGMENT IN A CIVIL CASE

                            Plaintiff,              CASE NO. C21-0920JLR

                v.

       WORLD VISION, INC.,

                            Defendant.




       Jury Verdict. This action came before the court for a trial by jury. The issues
       have been tried and the jury has rendered its verdict.

 X     Decision by Court. This action came to consideration before the court. The
       issues have been considered and a decision has been rendered.

     THE COURT HAS ORDERED THAT

       Defendant’s motion for summary judgment (Dkt. # 26) is GRANTED. (See Order

(Dkt. # 38).)

       Filed this 13th day of June, 2023.



                                            RAVI SUBRAMANIAN
                                            Clerk of Court

                                            s/ Ashleigh Drecktrah
                                            Deputy Clerk
